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12   MONSANTO COMPANY

13

14                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
15

16   IN RE: ROUNDUP PRODUCTS                       ) MDL No. 2741
     LIABILITY LITIGATION                          ) Case No. 3:16-md-02741-VC
17                                                 )
                                                   ) MONSANTO COMPANY’S NOTICE OF
18    Hardeman v. Monsanto Co., et al.,            ) MOTION AND MOTION IN LIMINE
      3:16-cv-0525-VC                              ) NO. 7 RE: POST-USE CORPORATE
19    Stevick v. Monsanto Co., et al.,
      3:16-cv-2341-VC                              ) CONDUCT
20    Gebeyehou v. Monsanto Co., et al.,           )
      3:16-cv-5813-VC                              )
21                                                 )
22
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
23
     PLEASE TAKE NOTICE THAT in Courtroom 4 of the United States District Court, Northern
24
     District of California, located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as
25
     ordered by the Court, Defendant Monsanto Company (“Monsanto”) will and hereby does move
26
     the Court to preclude evidence regarding post-use corporate conduct.
27

28
                                                   -1-
                   MONSANTO MOTION IN LIMINE NO. 7 RE: POST-USE CORPORATE CONDUCT
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     DATED: January 30, 2019
 1
                                             Respectfully submitted,
 2
                                             /s/ Brian L. Stekloff___________
 3
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                 MONSANTO MOTION IN LIMINE NO. 7 RE: POST-USE CORPORATE CONDUCT
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 1
                               MEMORANDUM OF POINTS AND AUTHORITIES
 2
     I.       INTRODUCTION
 3
              Defendant Monsanto Company (“Monsanto”) respectfully submits this motion in limine to
 4
     preclude Plaintiffs Edwin Hardeman, Elaine Stevick and Sioum Gebeyehou (“Plaintiffs’”) from
 5
     introducing evidence or argument about any alleged conduct or activities undertaken by Monsanto
 6
     that occurred after each Plaintiff last used Roundup. Monsanto’s corporate activities that occurred
 7
     after each Plaintiff last used Monsanto’s Roundup have no bearing on whether Roundup caused that
 8
     plaintiff’s cancer, and could not have had any bearing on that Plaintiff’s decisions to use Roundup,
 9
     the adequacy of the Roundup warnings at the time of the Plaintiff’s use of Roundup, or the design
10
     of Roundup. Accordingly, any mention of this evidence is irrelevant and unduly prejudicial. See
11
     Fed. R. Evid. 401 and 403. Moreover, because this evidence cannot be the basis for liability, it
12
     cannot be a basis for punitive liability under California law or the Due Process clause of the
13
     Fourteenth Amendment. Monsanto believes this motion relates solely to Phase 2; science going to
14
     causation is relevant even if it post-dates the Plaintiffs’ use of Roundup, but the kind of evidence
15
     this Motion seeks to preclude would presumably be offered in Phase 2 to establish Monsanto’s
16
     liability.
17
     II.      BACKGROUND
18
              All three plaintiffs indicate that they stopped using Roundup at different times. Mr.
19

20   Hardeman testified that the last time he used Roundup was in late 2011 or early 2012. See

21   November 8, 2018 Deposition of Edwin Hardeman (“Hardeman Dep.”) at 70:7-21: 174:7-12 (Ex.

22   1). 1 Ms. Stevick testified that she last used Roundup in 2014. See November 9, 2018 Deposition
23
     1
24          Two of Mr. Hardeman’s experts testified that during their physical examinations of Mr.
     Hardeman (that took place after his deposition), Mr. Hardeman told them he continued to us
25   Roundup until he developed cancer in late 2014. See December 14, 2018 Deposition of Chadi
     Nabhan (“Nabhan - Hardeman Dep.”) at 12:13 – 23 (Ex. 3); December 15, 2018 Deposition of
26   Andrei Shustov (“Shustov - Hardeman Dep.”) at 169:15-170:13 (Ex. 4). While Mr. Hardeman’s
     own deposition testimony should control, if the Court finds that Mr. Hardeman stopped using
27   Roundup® in late 2014 (the date identified by two of his experts), then the Court must at least
     exclude all evidence regarding the conduct that post-dates late 2014.
28
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                      MONSANTO MOTION IN LIMINE NO. 7 RE: POST-USE CORPORATE CONDUCT
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 1   of Elaine Stevick (“Stevick Dep.”) at 109:7−13; 310:25−311:20 (Ex. 2.). Mr. Gebeyehou testified

 2   that he last used Roundup in 2016. See November 13, 2018 Deposition of Sioum Gebeyehou
 3
     (“Gebeyehou Dep.”) at 44:19−23; 50:25−56:25 (Ex. 5).
 4
              Monsanto expects that Plaintiffs will seek to paint Monsanto’s post-use activities as attempts
 5
     by Monsanto to silence detractors of glyphosate, influence science and regulators, and as reflecting
 6
     a cavalier disregard for the citizens of California. These post-use activities and evidence at issue
 7

 8   include Monsanto’s alleged relationships with EPA employees like Jess Rowland, Monsanto’s

 9   responses to IARC’s classification of glyphosate as a “probable carcinogen” in March 2015, and
10   other evidence that is the subject of other MILs. See e.g. MIL 1, IARC Classification During Phase
11
     1 of Trial; MIL 10, Seralini Study and Any Information Therein; MIL 2, “Ghostwriting”; MIL 8,
12
     Proposition 65.
13
     III.     ARGUMENT
14
              A.     Monsanto’s Actions After A Plaintiff Stopped Using Roundup Are Irrelevant
15
              All of the Plaintiffs’ claims are premised on the allegation that Roundup caused them to
16
     develop subtypes of non-Hodgkin lymphoma, that Monsanto failed to warn of this alleged risk, and
17
     the design of Roundup was defective. Evidence unrelated to a Plaintiff’s decision to use Roundup
18
     or their injuries is irrelevant in these cases. Fed. R. Evid. 401. Monsanto’s corporate conduct that
19
     post-dates a Plaintiff’s last use of Roundup has no bearing on that Plaintiff’s decision to use
20
     Roundup or any connection to their injuries, and is also therefore irrelevant. Fed. R. Evid. 401;
21
     Espresso Roma Corp. v. Bank of Am., 100 Cal. App. 4th 525, 534, (2002) (holding that defendants’
22
     conduct “occurring long after” the events at issue “are irrelevant.”).
23
              Likewise, California law requires Monsanto to warn only of risks that were actually known
24
     or reasonably scientifically knowable at the time Plaintiff used these products. See Anderson v.
25
     Owens-Corning Fiberglas Corp., 53 Cal. 3d 987, 999-1000 (1991) (holding that “knowledge or
26
     knowability” of risk is a required component of failure to warn claims); see Judicial Council of
27

28                                                   -2-
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 1   California Civil Jury Instruction (“CACI”) No. 1222. Monsanto’s corporate conduct after the

 2   Plaintiff stopped using Roundup by definition does not relate to what was scientifically known or

 3   knowable to Monsanto as of the time of plaintiff’s use.

 4           To prove their design-defect claims under California law, Plaintiffs will need to show that

 5   Roundup did not perform as safely as an ordinary consumer would have expected it to perform

 6   when used or misused in an intended or reasonably foreseeable way, and that this failure to perform

 7   safely was a substantial factor in causing Plaintiffs’ harm. See CACI No. 1203. Again, Monsanto’s

 8   corporate conduct after the Plaintiff stopped using Roundup has nothing to do with any of these

 9   questions.

10           As just one example of why this evidence is irrelevant, Plaintiff may argue that Monsanto’s

11   conduct in disputing IARC’s decisions regarding glyphosate is blameworthy in various ways. But if

12   the Plaintiff was no longer using Roundup when Monsanto responded to IARC’s classification of

13   glyphosate, Monsanto’s actions could not have impacted that Plaintiff’s alleged injury or their

14   decision to use or not use Roundup. Evidence about post use conduct should therefore be excluded

15   as irrelevant.

16           B.       Evidence of Monsanto’s Corporate Conduct After A Plaintiff Stopped Using
                      Roundup Would Be Unduly Prejudicial And Must Be Excluded
17
             Evidence of Monsanto’s actions after a Plaintiff stopped using Roundup should also be
18
     excluded due to the danger of undue prejudice to Monsanto. See Fed. R. Evid. 403. Because this
19
     evidence has no direct bearing on whether a Plaintiff was injured by a Monsanto product or the
20
     alleged inadequacy of the Roundup warnings or Roundup design, Monsanto’s post use actions
21
     would only be proffered to improperly inflame the juries’ emotions. Courts have routinely excluded
22
     such evidence because it is unduly prejudicial. Diamond X Ranch LLC v. Atl. Richfield Co., No.
23
     3:13-CV-00570-MMD-WGC, 2018 WL 2127734, at *14 (D. Nev. May 8, 2018) (in an
24
     environmental contamination case, excluding evidence about a company’s operations at other
25
     contamination sites where the defense argued such evidence would “inflame the jurors' emotions
26
     and result in unfair prejudice”); Georges v. Novartis Pharm. Corp., No. CV 06-05207 SJO VBKX,
27
     2013 WL 5217198, at *13-14 (C.D. Cal. Apr. 4, 2013) (excluding evidence of labeling changes and
28                                                   -3-
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 1   other measures taken after plaintiffs exposure to product had ended pursuant to Fed. R. Evid. 403

 2   and 407); Miller v. Pfizer, Inc. (Roerig Div.), 196 F. Supp. 2d 1095, 1122 n. 92 (D. Kan. 2002)

 3   (excluding marketing materials not relied on by prescriber “because they were irrelevant and

 4   unfairly prejudicial”), aff’d, 356 F.3d 1326 (10th Cir. 2004). Therefore, evidence about Monsanto’s

 5   actions after a Plaintiff stopped using Roundup is unduly prejudicial and should be excluded.

 6          Further, if Plaintiff is permitted to introduce evidence of Monsanto’s corporate conduct that

 7   occurred after a Plaintiff stopped using Roundup, Monsanto will also need to introduce evidence

 8   explaining its actions and putting them into the proper context, wasting valuable trial time and

 9   resources on an issue that is not relevant to the Plaintiff’s case. See Le Baron’s Estate v. Rohm &

10   Haas Co., 506 F.2d 1261, 1264 (9th Cir. 1974) (affirming the exclusion of evidence where “its

11   probative value is slight and is outweighed by the difficulties its introduction will produce” such as

12   “undue confusion and consumption of time.”). The Court’s entire bifurcation plan was driven by

13   the concern that this type of prejudicial evidence could unduly infect the key causation question to

14   be decided in Phase 1, but in the same way, even in Phase 2 irrelevant evidence going to

15   Monsanto’s conduct is equally problematic and should be excluded.

16          C.      Evidence of Monsanto’s Corporate Conduct After A Plaintiff Stopped Using
                    Roundup Cannot Be The Bases For Punitive Damages
17
            Plaintiffs have previously argued that evidence of Monsanto’s corporate conduct after they
18
     stopped using Roundup is relevant to punitive damages. But conduct that cannot be the basis for
19

20   liability cannot be a basis for punitive liability. Cortez v. Skol, 776 F.3d 1046, 1050, n. 2 (9th Cir.

21   2015) (noting that punitive damages are not an independent cause of action or issue separate from
22   the balance of plaintiff’s case). California courts have made clear that post-use conduct cannot
23
     support punitive damages under California law pursuant to the Due Process Clause of the
24
     Fourteenth Amendment. Due process requires that a punitive damages award must be based on
25
     conduct that has a nexus to the specific harm suffered by the plaintiff because “[a] defendant should
26

27   be punished for the conduct that harmed the plaintiff, not for being an unsavory individual or

28                                                  -4-
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 1   business.” Johnson v . Ford Motor Co., 35 Cal. 4th 1191, 1204 (2005) (quoting State Farm Mut.

 2   Auto Ins. Co. v. Campbell, 538 U.S. 408, 422–23 (2003)); accord BMW of N. Am., Inc. v. Gore, 517
 3
     U.S. 559, 580-81 (1996); Holdgrafer v. Unocal Corp., 160 Cal. App. 4th 907, 912-13 (2008)
 4
     (reversing award of punitive damages after finding evidence of "two massive oil spills" to be too
 5
     dissimilar "to be considered in assessing defendant's reprehensibility in causing and responding to
 6
     the underground contamination of plaintiffs' commercial property"). Thus, it would violate due
 7

 8   process rights to base an award of punitive damages on Monsanto’s conduct that occurred after a

 9   Plaintiff stopped using Roundup, because the conduct did not influence Plaintiff or have any nexus
10   to their injury.
11
     IV.     CONCLUSION
12           For the foregoing reasons, the Court should exclude evidence or argument about any alleged
13   conduct or activities undertaken by Monsanto that occurred after each plaintiff last used Roundup.
14

15   DATED: January 30, 2019
16                                                Respectfully submitted,
17                                                /s/ Brian L. Stekloff___________
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 1                                    CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on this 30th day of January 2019, a copy of the foregoing was

 3   served via electronic mail to opposing counsel.

 4
                                                  /s/ Brian L. Stekloff__
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